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 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK
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  EDGAR SANCHEZ,
                                                                      Case No.: 1:23-cv-4052 (AMD) (VMS)
                                          Plaintiff,
                                                                      NOTICE OF APPEARANCE
                   -against-

 EZ PARKING CORPORATION, EK PREMIER
 SERVICES LLC, and YAN MOSHE, individually,

                                          Defendants.
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         PLEASE TAKE NOTICE that David Aminov, Esq. hereby appears as counsel for

 Defendant EK Premier Services LLC in the above-captioned case. I certify that I am admitted to

 practice in the United States District Court for the Eastern District of New York.

 Dated: Lake Success, New York
        November 16, 2023

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  VIA ECF                                                              VIA ECF
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